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                                     #:525


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        HOLLYWOOD, L.L.C.
   7

   8                          UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
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  11
        SUNNY KHACHATRYAN, AN              Case No. 2:23-cv-10829
  12    INDIVIDUAL; TATEVIK
        KHACHATRYAN, AN INDIVIDUAL; [PROPOSED] ORDER GRANTING
  13    B.A.J., A MINOR; AND I.M., A       DEFENDANT’S MOTION TO
        MINOR,                             COMPEL PLAINTIFFS’
  14                                       DISCOVERY RESPONSES AND
                               Plaintiffs, THE DEPOSITION OF PLAINTIFF
  15                                       SUNNY KHACHATRYAN
             v.
  16
        1 HOTEL WEST HOLLYWOOD,                    Discovery Cut-Off: 11/25/2024
  17    L.L.C.,                                    Pre-Trial Conference: 4/7/2025
                                                   Trial: 4/29/2025
  18                               Defendant.      Hearing Date: 9/13/2024
                                                   Time: 9:30 a.m.
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  20
                                    [PROPOSED] ORDER
  21
             Defendant 1 HOTEL WEST HOLLYWOOD, L.L.C. (“Defendant” or “1
  22
       Hotel”) Motion to Compel Plaintiffs’ Discovery Responses and the Deposition of
  23
       Plaintiff Sunny Khachatryan, (the "Motion") came on for hearing before this Court
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       on September 13, 2024 at 9:30 a.m., or as set by the Court, in Courtroom 750 or by
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       Zoom or telephone conference as ordered by the Court. After full consideration of
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       the matter, this Court finds good cause to grant the Motion and ORDERS as follows:
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                                               1                    CASE NO.: 2:23-CV-10829
         [PROPOSED] ORDER GRNATING DEFENDANT’S MOTION TO COMPEL PLAINTIFFS’ DISCOVERY
                 RESPONSES AND THE DEPOSITION OF PLAINTIFF SUNNY KHACHATRYAN
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   1         1.    Within 7 days of this ORDER, Plaintiffs must provide proper Fed. R.
   2               Civ. P. 26(a)(1)(A)(iii) damages calculations;
   3         2.    Within 14 days of this ORDER, Plaintiffs must provide substantive
   4               responses, under oath, to each and every interrogatory (Interrog. Nos.
   5               1-18);
   6         3.    Within 14 days of this ORDER, Plaintiffs must search for and produce
   7               all relevant documents responsive to all outstanding requests for
   8               production (RFP Nos. 1-13);
   9         4.    Plaintiff Sunny Khachatryan must appear for a discovery deposition
  10               within 30 days of compliance with (1)-(3) above; and
  11         5.    1 Hotel is granted its reasonable expenses and attorneys’ fees in
  12               bringing this Motion under Fed. R. Civ. P. 37(a)(5)(A).
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  14         IT IS SO ORDERED.
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  17   Dated:
  18                                                Hon. Charles F. Eick
  19                                                Magistrate Judge of the United States
                                                    District Court
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                                               2                    CASE NO.: 2:23-CV-10829
         [PROPOSED] ORDER GRNATING DEFENDANT’S MOTION TO COMPEL PLAINTIFFS’ DISCOVERY
                 RESPONSES AND THE DEPOSITION OF PLAINTIFF SUNNY KHACHATRYAN
